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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                            District of
                                             Delaware
                                          (State)
 Case number (If known):                                         Chapter1 1                                                                    0 Check if this is an
                                                                                                                                                   amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                  04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1. Debtor's name                               Vitamin World, Inc.


2. All other names debtor used                      N/A
   in the last 8 years
   Include any assumed names,
   trade names, and doing business
   as names



3. Debtor's federal Employer
   Identification Number (EIN)
                                               _a _ n .ffig15
                                                Principal place of business                                  Mailing address, if different from principal place
4. Debtor's address
                                                                                                             of business

                                                4320 Veterans Highway
                                                Number         Street                                         Number      Street


                                                                                                              P.O. Box

                                                     Holbrook, NY 11741
                                                City                             State      ZIP Code          City                         State         ZIP Code

                                                                                                              Location of principal assets, if different from
                                                                                                              principal place of business

                                                County
                                                                                                              Number      Street




                                                                                                              City                         State         ZIP Code




5. Debtor's website (URL)

                                                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
6. Type of debtor
                                                0      Partnership (excluding LLP)
                                                CI     Other. Specify:



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Debtor             Vitamin World, Inc.                                                              Case number   (if known)
                Name


                                         A. Check one:
7.   Describe debtor's business
                                         CI Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         CI Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         0 Railroad (as defined in 11 U.S.C. § 101(44))
                                         CI Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         CI Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         0   gearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above


                                         B. Check all that apply:

                                         CI Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         CI Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                         0 Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            htto://www.uscourts,gov/four-cflgit-national-association-naics-codes .
                                             AMA.

8.    Under which chapter of the         Check one
      Bankruptcy Code is the
                                         CI Chapter 7
      debtor filing?
                                         Cliphapter 9
                                         - Chapter 11 Check all that apply:
                                                                CI Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                   insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                                   4/01/19 and every 3 years after that).
                                                                CI The debtor is a small business debtor as defined in 11 U.S.C. § 101(510). If the
                                                                   debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                   of operations, cash-flow statement, and federal income tax return or if all of these
                                                                   documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                                CI A plan is being filed with this petition.

                                                                Ui   Acceptances of the plan were solicited prepetition from one or more classes of
                                                                     creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                CI The debtor is required to file periodic reports (for example, 10K and 100) with the
                                                                   Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                   Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                   for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                CI The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                    12b-2.
                                         CI Chapter 12

 9. Were prior bankruptcy cases              No
    filed by or against the debtor
                                          lj Yes. District                                   When                          Case number
    within the last 8 years?                                                                         MM! DD / YYYY
      If more than 2 cases, attach a                                                                                       Case number
                                                    District                                 When
      separate list.                                                                                 MM! DD / YYYY

      Are any bankruptcy cases            0 No
      pending or being filed by a
      business partner or an             11Yes. Debtor               See attached appendix                                     Relationship
      affiliate of the debtor?                       District                                                              When
                                                                                                                                              MM / DD / YYYY
       List all cases. If more than 1,
       attach a separate list.                       Case number, if known


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Debtor
                 Vitamin World, Inc.                                                          Case number   (if known)
             Name




11. Why is the case filed in this   Check all that apply:
    district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                    0       A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


4. Does the debtor own or have          .4 No
   possession of any real           0     Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                          Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                 O It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?

                                                 O It needs to be physically secured or protected from the weather.

                                                 O It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                   attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                   assets or other options).

                                                 O Other



                                                 Where is the property?
                                                                             Number          Street




                                                                             City                                               State      ZIP Code


                                                 Is the property insured?
                                                  CI No
                                                  O Yes. Insurance agency

                                                           Contact name

                                                           Phone




           Statistical and administrative information



13. Debtor's estimation of          Ch ck one:
    available funds                         Funds will be available for distribution to unsecured creditors,
                                        0   After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                        0
                                       1-49                               0   1,000-5,000                                0   25,001-50,000
14. Estimated number of                 0
                                       50-99                              0   5,001-10,000                               0   50,001 - 100,000
    creditors                                                             0                                              0   More than 100,000
                                    C1,100-199
                                    ,                                         10,001-25,000
                                    44 200-999

                                            $0-$50,000                        $1,000,001-$10 million                        $500,000,001-$1 billion
15. Estimated assets                        $50,001-$100,000                   10,000,001-$50 million                       $1,000,000,001-$10 billion
                                            $100,001-$500,000                 $50,000,001-$100 million                      $10,000,000,001-$50 billion
                                            $500,001-$1 million               $100,000,001-$500 million                  ip More than $50 billion




  Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 3
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Debtor
                   Vitamin World, Inc.                                                               Case numbor



                                             0 $0450,000                            D 71,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities                     $50,001-$100,000                        $10,000,001450 million                 $1,000,000,001-$10 billion
                                             0 $100,0014500,000                     LI $50,000,001-$100 million             0 $10,000,000,001-$50 billion
                                                $500,001-$1 million                 U $100,000,001-$500 million             0 More than $50 billion




               Request for Relief, Declaration, and Signatures


WARNING        —
                   Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                   $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17,   Declaration and signature of               The debtor requests relief in accordance with the chapter of title 11, United States Code, specified In this
      authorized representative of               petition.
      debtor
                                                  I have been authorized to file this petition on behalf of the debtor.

                                                  I have examined the information In this petition and have a reasonable belief that the information is true and
                                                 correct.


                                             I declare under penalty of perjury that the foregoing is true and correct.

                                                 Executed
                                                                 9/11/2017
                                                                MM I'OI YY

                                                                                                               Frank Conlp_y_
                                                 Sign ure of authorized representative of de                 Printed name

                                                 Title   Chief Financial Off




18. Signature of attorney                                                                                    D a te        9/11/2017
                                                   gnature of attorney for debtor                                          nmo DD / YYYY

                                                  Mark Minuti
                                                 Printed name

                                                  5.3aui Ewing Arnsteiri & Lehr LLP
                                                 Firm name

                                                 1201 N. Market Street, Suite 2300
                                                 Number          Street

                                                   Wilmington                                                      DE                 19899-1266
                                                 City                                                              Stale           ZIP Coda


                                                  (302) 421-6840                                                      mark.minutipsaul.com
                                                 Contact phone                                                     Email address



                                                   No. 2659                                                           DE
                                                 Bar number




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                                                   Appendix

                                                Affiliate Filings

        On the date hereof, each of the affiliated entities listed below, including the debtor in the
chapter 11 case to which this Appendix is attached (collectively, the "Debtors") filed a petition in
this Court for relief under chapter 11 of title 11 of the United States Code. The Debtors have
moved for joint administration of these cases under the number assigned to the chapter 11 case of
In re Vitamin World, Inc.

    •   Vitamin World, Inc.

    •   VWRE Holdings, Inc.

    •   VW Interholdings, Inc.

    •   VW Online, Inc.

    •   Vitamin Depot, LLC

    •   Precision Engineered Limited (USA)

    •   Vitamin World of Guam, LLC

    •   Vitamin World (V.I.), Inc.

    •   Nutrition Warehouse, Inc.




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                                         VITAMIN WORLD, INC.

                       WRITTEN CONSENT OF THE BOARD OF DIRECTORS

       The undersigned director, constituting the special member of the Board of Directors (the
"Board of Directors") of Vitamin World, Inc., a Delaware corporation (the "Corporation")
authorized to approve restructuring matters, acting without a meeting pursuant to Section 141(f)
of the Delaware General Corporation Law, as amended, does hereby waive all call and notice
requirements and consents to, and adopts, the following resolutions by written consent:

                                    A. BANKRUPTCY PROCEEDINGS

                              WHEREAS, the Board of Directors reviewed the materials
                      presented by the management and the financial and legal advisers
                      of the Corporation regarding the liabilities and liquidity situation
                      of the Corporation, the strategic alternatives available to the
                      Corporation, and the impact of the foregoing on the Corporation's
                      businesses; and

                              WHEREAS, the Board of Directors has had the opportunity
                      to consult with the management and the financial and legal
                      advisers of the Corporation and fully consider each of the strategic
                      alternatives available to the Corporation.

                      Voluntary Petition Under the Provisions of Chapter 11 of Title 11 of the
                      United States Code.

                              NOW, THEREFORE, BE IT RESOLVED THAT: In the
                      judgment of the Board of Directors, it is desirable and in the best
                      interests of the Corporation, its creditors, stockholders, and other
                      parties in interest, that the Corporation file or cause to be filed
                      voluntary petitions for relief under the provisions of chapter 11 of
                      title 11 of the United States Code on or before September 11,
                      2017;

                              BE IT FURTHER RESOLVED THAT: Each of the Chief
                      Executive Officer, President, Chief Financial Officer, Treasurer,
                      and such other officers as may be designated by the Chief
                      Executive Officer or President (collectively, the "Authorized
                      Officers"), acting alone or with one or more other Authorized
                      Officers, be, and hereby is, authorized and empowered to execute
                      and file on behalf of the Corporation all petitions, schedules, lists
                      and other papers or documents, and to take any and all action that
                      they deem necessary or proper to obtain such relief;




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                              BE IT FURTHER RESOLVED THAT: Each of the
                      Authorized Officers, acting alone or with one or more other
                      Authorized Officers, be, and hereby is, authorized and directed to
                      employ the law firm of Katten Muchin Rosenman LLP as general
                      bankruptcy counsel to represent and assist the Corporation in
                      carrying out its duties under title 11 of the United States Code, and
                      to take any and all actions to advance the Corporation's rights and
                      obligations, including filing any pleadings; and in connection
                      therewith, each of the Authorized Officers, acting alone or with
                      one or more other Authorized Officers, be, and hereby is,
                      authorized and directed to execute appropriate retention
                      agreements, pay appropriate retainers prior to and immediately
                      upon filing of the chapter 11 case, and to cause to be filed an
                      appropriate application for authority to retain the services of
                      Katten Muchin Rosenman LLP;

                              BE IT FURTHER RESOLVED THAT: Each of the
                      Authorized Officers, acting alone or with one or more other
                      Authorized Officers, be, and hereby is, authorized and directed to
                      employ the law firm of Saul Ewing Arnstein & Lehr LLP as
                      general bankruptcy co-counsel to represent and assist the
                      Corporation in carrying out its duties under title 11 of the United
                      States Code, and to take any and all actions to advance the
                      Corporation's rights and obligations, including filing any
                      pleadings; and in connection therewith, each of the Authorized
                      Officers, acting alone or with one or more other Authorized
                      Officers, be, and hereby is, authorized and directed to execute
                      appropriate retention agreements, pay appropriate retainers prior to
                      and immediately upon the filing of the chapter 11 case, and cause
                      to be filed an appropriate applications for authority to retain the
                      services of Saul Ewing Arnstein & Lehr LLP;

                             BE IT FURTHER RESOLVED THAT: Each of the
                      Authorized Officers, acting alone or with one or more other
                      Authorized Officers, be, and hereby is, authorized and directed to
                      employ the firm of Retail Consulting Services, Inc. d/b/a RCS Real
                      Estate Advisors as real estate advisors to represent and assist the
                      Corporation in carrying out its duties under title 11 of the United
                      States Code, and to take any and all actions to advance the
                      Corporation's rights and obligations; and in connection therewith,
                      each of the Authorized Officers, acting alone or with one or more
                      other Authorized Officers, be, and hereby is, authorized and
                      directed to execute appropriate retention agreements, pay
                      appropriate retainers prior to and immediately upon the filing of
                      the chapter 11 case, and to cause to be filed appropriate
                      applications for authority to retain the services of Retail Consulting
                      Services, Inc. d/b/a RCS Real Estate Advisors;

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                              BE IT FURTHER RESOLVED THAT: Each of the
                      Authorized Officers, acting alone or with one or more other
                      Authorized Officers, be, and hereby is, authorized and directed to
                      employ the firm of RAS Management Advisors, LLC as financial
                      advisors of the Corporation to assist the Corporation in carrying
                      out its duties under title 11 of the United States Code, and to take
                      any and all actions to advance the Corporation's rights and
                      obligations; and in connection therewith, each of the Authorized
                      Officers, acting alone or with one or more other Authorized
                      Officers, be, and hereby is, authorized and directed to execute
                      appropriate retention agreements, pay appropriate retainers prior to
                      and immediately upon filing of the chapter 11 case, and to cause to
                      be filed an appropriate application for authority to retain the
                      services of RAS Management Advisors, LLC;

                              BE IT FURTHER RESOLVED THAT: Each of the
                      Authorized Officers, acting alone or with one or more other
                      Authorized Officers, be, and hereby is, authorized and directed to
                      employ the firm of JND Corporate Restructuring as notice and
                      claims agent to represent and assist the Corporation in carrying out
                      its duties under title 11 of the United States Code, and to take any
                      and all actions to advance the Corporation's rights and obligations;
                      and in connection therewith, each of the Authorized Officers,
                      acting alone or with one or more other Authorized Officers, be,
                      and hereby is, authorized and directed to execute appropriate
                      retention agreements, pay appropriate retainers prior to and
                      immediately upon the filing of the chapter 11 case, and to cause to
                      be filed appropriate applications for authority to retain the services
                      of JND Corporate Restructuring; and

                              BE IT FURTHER RESOLVED THAT: Each of the
                      Authorized Officers, acting alone or with one or more other
                      Authorized Officers, be, and hereby is, authorized and directed to
                      employ any other professionals to assist the Corporation in
                      carrying out its duties under title 11 of the United States Code; and
                      in connection therewith, each of the Authorized Officers, acting
                      alone or with one or more other Authorized Officers, be, and
                      hereby is, authorized and directed to execute appropriate retention
                      agreements, pay appropriate retainers prior to or immediately upon
                      the filing of the chapter 11 case and to cause to be filed an
                      appropriate application for authority to retain the services of any
                      other professionals as necessary.




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          IL          Senior Secured Debtor In Possession Credit Agreement.

                              BE IT FURTHER RESOLVED THAT: The form, terms,
                      and provisions of the Senior Secured Super-Priority Debtor-In-
                      Possession Credit Agreement (the "DIP Credit Agreement"),
                      dated as of on or about September 11, 2017, by and among the
                      Corporation and its co-debtor affiliates, as debtor and debtor-in-
                      possession in a case pending under chapter 11 of the Bankruptcy
                      Code, and Wells Fargo Bank, National Association, as L/C issuer
                      and as agent (the "Agent") for the lender parties thereto
                      (collectively, the "Lenders") and the Corporation's performance
                      of its obligations under the DIP Credit Agreement be, and hereby
                      are, in all respects, approved; and further resolved, that the form,
                      terms and provisions of each of the instruments and documents
                      ancillary to the DIP Credit Agreement (together with the DIP
                      Credit Agreement, collectively, the "DIP Loan Documents"), are
                      hereby in all respects approved, and the Authorized Officers,
                      acting alone or with one or more other Authorized Officers be, and
                      hereby is, authorized and empowered to execute and deliver the
                      DIP Credit Agreement, and each of the DIP Loan Documents, in
                      the name and on behalf of the Corporation under its corporate seal
                      or otherwise, substantially in the forms reviewed by one or more
                      Authorized Officers, with such changes therein and modifications
                      and amendments thereto as any Authorized Officer or Officers
                      may in his or their sole discretion approve, which approval shall be
                      conclusively evidenced by his, her, or their execution thereof;

                              BE IT FURTHER RESOLVED THAT: The Board of
                      Directors hereby authorizes the Corporation to grant liens and
                      security interests in and to all of the Corporation's assets of
                      whatever kind in favor of the Agent as collateral to secure the
                      obligations in the DIP Credit Agreement and the DIP Loan
                      Documents, and the Board of Directors hereby authorizes the
                      Agent to file any financing statements (including financing
                      statements describing the collateral as "all assets", "all personal
                      property" or with words of similar import), assignments for
                      security or other documents in the name of the Corporation as may
                      be necessary or desirable to perfect the security interests granted to
                      the Lenders in the DIP Loan Documents;

                              BE IT FURTHER RESOLVED THAT: Each of the
                      Authorized Officers be, and hereby is, authorized and empowered
                      to take all such further actions including, without limitation, to pay
                      all fees and expenses, in accordance with the terms of the DIP
                      Loan Documents, to arrange for and enter into supplemental
                      agreements, amendments, instruments, certificates, or documents
                      relating to the transactions contemplated by the DIP Credit

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                      Agreement or any of the other DIP Loan Documents and to
                      execute and deliver all such supplemental agreements,
                      amendments, instruments, certificates, or documents in the name
                      and on behalf of the Corporation under its corporate seal or
                      otherwise, which shall in their sole judgment be necessary, proper
                      or advisable in order to perform the Corporation's obligations
                      under or in connection with the DIP Credit Agreement or any of
                      the other DIP Loan Documents and the transactions contemplated
                      therein, and to carry out fully the intent of the foregoing
                      resolutions;

                              BE IT FURTHER RESOLVED THAT: Each of the
                      Authorized Officers be, and hereby is, authorized and empowered
                      to execute and deliver any amendments, amendment and
                      restatements, supplements, modifications, renewals, replacements,
                      consolidations, substitutions and extensions of the DIP Credit
                      Agreement or any of the DIP Loan Documents which shall in their
                      sole judgment be necessary, proper or advisable; and

                             BE IT FURTHER RESOLVED THAT: All acts and
                      actions taken by the Authorized Officers prior to the date hereof
                      with respect to the transactions contemplated by the DIP Credit
                      Agreement and any of the other DIP Loan Documents be, and
                      hereby are, in all respects confirmed, approved, and ratified.

                             B. FURTHER ACTIONS AND PRIOR ACTIONS

                               BE IT RESOLVED THAT: Each of the Authorized
                       Officers, acting alone or with one or more other Authorized
                       Officers, be, and hereby is, authorized and empowered for, in the
                       name of and on behalf of the Corporation to take or cause to be
                       taken any and all such other and further action, and to execute,
                       acknowledge, deliver, and file any and all such instruments as
                       each, in his or her discretion, may deem necessary or advisable in
                       order to carry out the purpose and intent of the foregoing
                       resolutions; and

                               BE IT RESOLVED THAT: All acts, actions, and
                       transactions relating to the matters contemplated by the foregoing
                       resolutions done in the name of and on behalf of the Corporation,
                       which acts would have been approved by the foregoing resolutions
                       except that such acts were taken before these resolutions were
                       certified, are hereby in all respects approved and ratified.


                                            [Signature Page Follows]



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      IN WITNESS WHEREOF, the undersigned has executed and delivered this Written
Consent of the Board of Directors in lieu of meeting as of the date first written above.




                                                Lawrence Perki s
                                                Director




               [Signature Page to Vitamin World, Inc. Written Consent of Board of Directors]
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    Fill in this information to identify the case:


    Debtor name      Vitamin World Inc.


    United States Bankruptcy Court for the District of Delaware
                                                                                                                                     O     Check if this is an
                                                                                                                                           amended filing
    Case number (if known):




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured
Claims and Are Not Insiders                                                        12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
largest unsecured claims.


Name of creditor and complete                 Name, telephone number,      Nature of the       Indicate if     Amount of unsecured claim
mailing address, including zip code           and email address of         claim               claim is        If the claim is fully unsecured, fill in only unsecured
                                              creditor contact             (for example,       contingent,     claim amount. If claim is partially secured, fill in
                                                                           trade debts, bank   unliquidated,   total claim amount and deduction for value of
                                                                           loans,              or disputed     collateral or setoff to calculate unsecured claim.
                                                                           professional
                                                                           services, and                       Total claim, if     Deduction        Unsecured claim
                                                                           government                          partially           for value of
                                                                           contracts)                          secured             collateral or
                                                                                                                                   setoff
          The Nature's Bounty Co.             Attn: Officer/Director        Trade, Loan                                                             $21,529,139.98
1                                             2100 Smithtown Avenue
                                              Ronkonkoma, NY 11779
          Robinson Pharma, Inc.               Attn: Michael Nguyen          Trade                                                                   $1,56,204.59
2                                             3330 S. Harbor Blvd
                                              Santa Ana, CA
                                              92704-6831

                                               Michael.nguyen@robinson
                                               pharma.com

                                               Ph: (714) 241-0235
                                               Fax: (741) 751-6066
          Visionet Systems Inc.                Attn: Officer/Director                                                                               $921,184.86
3                                              4 Cedarbrook Drive
                                               Bldg. B
                                               Cranbury, NJ 08512

                                               Ph: (609) 452-0700
                                               Fax: (609) 655-5232

                                               sales@visionetsystems.co
                                               m
          Avanade Inc.                         Attn: Officer/Director                                                                               $588,382.58
4                                              818 Stewart Street
                                               Suite 400
                                               Seattle, WA 98101

                                               Ph: (206) 239-5600
                                               Fax: (206) 239-5605
          Aetna Life Insurance                 Attn: Officer/Director                                                                               $318,243.61
5         Company                              151 Farmington Ave.
                                               Rt 21
                                               Hartford, CT 06156

                                               Ph: (860) 273-0123
                                               Fax: (860) 273-6675




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                   page 1
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Debtor Vitamin World Inc.             Case number   Of known)




Name of creditor and complete           Name, telephone number,      Nature of the       Indicate if     Amount of unsecured claim
mailing address, including zip code     and email address of         claim               claim is        If the claim is fully unsecured, fill in only unsecured
                                        creditor contact             (for example,       contingent,     claim amount. If claim is partially secured, fill in
                                                                     trade debts, bank   unliquidated,   total claim amount and deduction for value of
                                                                     loans,              or disputed     collateral or setoff to calculate unsecured claim.
                                                                     professional
                                                                     services, and                       Total claim, if     Deduction       Unsecured claim
                                                                     government                          partially           for value of
                                                                     contracts)                          secured             collateral or
                                                                                                                             setoff
       Garden of Life, LLC              Attn: Officer/Director       Trade                                                                   $247,937.65
                                        4200 Northcorp Parkway
                                        Suite 200
                                        Palm Beach Gardens, FL
                                        33410

                                        Ph: (800) 622-8986
                                        Fax: (561) 575-5488

                                        keyaccounts@gardenoflife
                                        .com
       ADH Health Products, Inc.        215 N. Route 303             Trade                                                                    $242,488.30
                                        Congers, NY 10920-1726

                                        P0@adhhealth.com

                                        Ph: (845) 268-0027
                                        Fax: (845) 268-2988
       Quest Nutrition                  Attn: M. Godinez             Trade                                                                    $196,750.05
                                        2221 Park Place
                                        El Segundo, CA
                                        90245-4909

                                        mgodinez@questnutrition.
                                        corn
                                        business&legalaffairs@qu
                                        estnutrition.com

                                        Ph: (888) 212-0601
                                        Fax: (310) 933-0331
       Global Health Laboratories       Attn: C Manzione              Trade                                                                   $183,544.34
       LLC                              548 Broadhollow Road
                                        Melville, NY 11747

                                         cmanzione@globalhealthla
                                         bs.com

                                        Ph: (631) 293-0030
                                        Fax: (631) 249-7114
       New Chapter, Inc.                Attn: Officer/Director        Trade                                                                   $175,869.53
10                                      PO Box 1947
                                        Brattleboro, VT 05302

                                         Ph: (802) 257-0018
                                         Fax: (802) 391-1422

                                         Orders@newchapter.com
       Fit & Fresh Inc.                  Attn: Officer/Director       Trade                                                                   $146,856.40
11                                       295 Promenade Street
                                         Providence, RI 02908

                                         Ph: (800) 858-8840
                                         Fax: (401) 273-0630

                                         aspinard@fitandfresh.com
       Unitrex Ltd.                      Attn: Alysha                 Trade                                                                   $131,16480
12                                       5060 Taylor Road
                                         Cleveland, OH 44128

                                         Ph: (216) 831-1900

                                         Alysha@sparoom.com


Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                 page 2
                               Case 17-11933-KJC                  Doc 1      Filed 09/11/17          Page 14 of 21
Debtor Vitamin World Inc.             Case number   (if known)




Name of creditor and complete           Name, telephone number,      Nature of the       Indicate if     Amount of unsecured claim
mailing address, including zip code     and email address of         claim               claim is        If the claim is fully unsecured, fill in only unsecured
                                        creditor contact             (for example,       contingent,     claim amount. If claim is partially secured, fill in
                                                                     trade debts, bank   unliquidated,   total claim amount and deduction for value of
                                                                     loans,              or disputed     collateral or setoff to calculate unsecured claim.
                                                                     professional
                                                                     services, and                       Total claim, if     Deduction        Unsecured claim
                                                                     government                          partially           for value of
                                                                     contracts)                          secured             collateral or
                                                                                                                             setoff
       10th Lane Partners, LLC          Attn: Officer/Director                                                                                $125,000,000
13                                      60 E. 42nd Street
                                        Suite 1250
                                        New York, NY 10165

                                        Ph: (646) 843-0710
                                        Fax: (347) 695-1574
       Lenny & Larry's, Inc.            Attn: Officer/Director       Trade                                                                    $119,887.68
14                                      14300 Arminta Street
                                        Panorama City, CA 91402

                                        Ph: (818) 727-0191
                                        Fax: (818) 727-0460

                                        P0@lennylarry.com
       St. Onge Company                 Attn: Officer/Director                                                                                $106,485.37
15                                      1400 Williams Road
                                        York, PA 17402

                                        Ph: (717) 840-8181
                                        Fax: (717) 840-8182

                                        msingletary@stonge.com
       4320 VMH Holbrook, LLC           Attn: Officer/Director        Lease                                                                   $103,188.93
16                                      100 Passaic Avenue
                                        Suite 150
                                        Fairfield, NJ 07004
       Contract Pharmacal Corp.         Attn: Cassandra Arnaiz       Trade                                                                    $102,772.90
17                                      135 Adams Avenue
                                        Hauppauge, NY 11788

                                         Ph: (631) 231-4610
                                         Fax: (631) 231-4156
       Basic Research LLC                Attn: Officer/Director       Trade                                                                   $87,943.86
18                                       5742 West Harold Gatty
                                         Drive
                                         Salt Lake City, UT 84116

                                         Ph: (801) 517-7000
                                         Fax: (801) 517-7001
       Capax Global, LLC                 Attn: Officer/Director                                                                                $83,926.66
19                                       PO Box 200955
                                         Pittsburgh, PA 15251

                                         Ph: (800) 913-3243
                                         Fax: (973) 401-0669
       Irwin Naturals                    Attn: Officer/Director       Trade                                                                    $78,655.20
20                                       5310 Beethoven St.
                                         Attn: Accounting Dept.
                                         Los Angeles, CA 90066

                                         Ph: (310) 306-3636
                                         Fax: (310) 306-5170

                                         mmcs@irwinnaturals.com




                            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                  page 3
 Official Form 204
                               Case 17-11933-KJC                  Doc 1       Filed 09/11/17          Page 15 of 21
Debtor Vitamin World, Inc,            Case number   (if known)




Name of creditor and complete           Name, telephone number,       Nature of the       Indicate if     Amount of unsecured claim
mailing address, including zip code     and email address of          claim               claim is        If the claim is fully unsecured, fill in only unsecured
                                        creditor contact              (for example,       contingent,     claim amount. If claim is partially secured, fill in
                                                                      trade debts, bank   unliquidated,   total claim amount and deduction for value of
                                                                      loans,              or disputed     collateral or setoff to calculate unsecured claim.
                                                                      professional
                                                                      services, and                       Total claim, if     Deduction        Unsecured claim
                                                                      government                          partially           for value of
                                                                      contracts)                          secured             collateral or
                                                                                                                              setoff
       Creative Bioscience              Attn: Officer/Director        Trade                                                                    $75,819.00
21                                      4530 S. 300 W
                                        Murray, UT 84107

                                        Ph: (877) 628-6525
                                        Fax: (801) 904-3928

                                        billing@creativebioscience
                                        .com
       I-Health, Inc.                   Attn: Officer/Director        Trade                                                                    $74,111.52
22                                      55 Sebethe Drive
                                        Suite 102
                                        Cromwell, CT 06416

                                        Ph: (800) 990-3476
                                        Fax: (860) 286-8757

                                        Tracking.ihealth@dsm.co
                                        m
       Nutrabolt Life Science           Attn: Officer/Director        Trade                                                                    $73,509.48
23                                      Dallas Lockbox
                                        PO Box 84418
                                        Woodbolt Distribution LLC
                                        Dallas, TX 75284-4180

                                         Ph: (800) 870-2070

                                        orders@nutrabolt.com
       Maximum Human                    Attn: Justin Villella         Trade                                                                    $71,336.37
24     Performance LLC                  21 Dwight Place
                                        Fairfield, NJ 07004

                                         Ph: (973) 785-9159

                                         Justin.villella@reachyourm
                                         hp.com
                                         crigas@maxperformance.c
                                         om
       Google, Inc.                      Attn: Officer/Director        Ecom                                                                     $65,191.90
25                                       Dept. No. 33654
                                         PO Box 39000
                                         San Francisco, CA
                                         94139-3654

                                         Ph: (315) 422-7000
                                         Fax: (650) 253-0001
        Almased USA, Inc.                Attn: Officer/Director        Trade                                                                    $63,369.64
26                                       2861 34th St. South
                                         St. Petersburg, FL 33711

                                         Ph: (787) 258-5105
                                         Fax: (727) 866-1438

                                         purchaseorders@almased.
                                         COM
        Pervine Foods, LLC               Attn: Officer/Director        Trade                                                                    $63,075.80
27                                       111 Terence Drive
                                         Pittsburgh, PA 15236

                                         Ph: (908) 216-2161




                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                  page 4
 Official Form 204
                               Case 17-11933-KJC                Doc 1      Filed 09/11/17            Page 16 of 21
Debtor Vitamin World, Inc.            Case number   of known)




Name of creditor and complete           Name, telephone number,      Nature of the       Indicate if     Amount of unsecured claim
mailing address, including zip code     and email address of         claim               claim is        If the claim is fully unsecured, fill in only unsecured
                                        creditor contact             (for example,       contingent,     claim amount. If claim is partially secured, fill in
                                                                     trade debts, bank   unliguidated,   total claim amount and deduction for value of
                                                                     loans,              or disputed     collateral or setoff to calculate unsecured claim.
                                                                     professional
                                                                     services, and                       Total claim, if     Deduction        Unsecured claim
                                                                     government                          partially           for value of
                                                                     contracts)                          secured             collateral or
                                                                                                                             setoff
       Universal Laboratories           Attn: Judith                 Trade                                                                    $61,791.60
28                                      3 Terminal Road
                                        New Brunswick, NJ
                                        08901

                                        Ph: (800) 872-0101
                                        Fax: (732) 214-1210

                                        Judith@universainutrition.
                                        com
       Direct Digital LLC               Attn: Tom                    Trade                                                                    $60,061.77
29                                      550 South Caldwell St.
                                        Charlotte, NC 28202

                                        Ph: (704) 557-0985

                                        tom@directdigitallIc.com
       Prince of Peace                  Attn: Heidi                  Trade                                                                    $58,352.58
30     Enterprises                      3536 Arden Road
                                        Hayward, CO 64545-3908

                                        Ph: (510) 723-2433
                                        Fax: (510) 877-1799

                                        Heidi@popus.com




Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                page 5
                                Case 17-11933-KJC                     Doc 1                Filed 09/11/17               Page 17 of 21




  Debtor Wirt1f3     Vitamin World, Inc.
  United States Bankruptcy Court for the:                               District of       DE
                                                                                      (State)

  Caso number (if known):




Official Form 202
Dec.k.ration Under Penalty ot erjurv for ,..Jcii-Indivictbi Debtors                                                                                 12/15

An Individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not Included In the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud In
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature



          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case,

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          L:1      Schedule A/S: Assets—Real and Personal Property (Official Form 206A/B)

          U Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

          LI       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

          U        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         U         Schedule 11: Codebtors (Official Form 20611)

         U         Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

         U       Amended Schedule


        'Li Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         Li        Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true         correct.


         Executed on         9/11/2017                          X
                            MM! DD / YYYY                           Sicj sturo of Individual signing on behalf of deb


                                                                      Frank Conley
                                                                    Printed name

                                                                     Chief Financial Officer
                                                                    Position or relationship to debtor




Official Form 202                             Declaration Under Penalty of Perjury for Non-Individual Debtors
              Case 17-11933-KJC         Doc 1     Filed 09/11/17    Page 18 of 21



                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF DELAWARE



In re                                                Chapter 11
                                              •
VITAMIN WORLD, INC.,                                 Case No. 17-              )
                                              •
               Debtors.                       •      Joint Administration Requested



                          CORPORATE OWNERSHIP STATEMENT

        Pursuant to Federal Rule of Bankruptcy Procedure 1007(a)(1), the following are the

corporations, other than a governmental unity, that directly or indirectly own 10% or more of any

class of the above-captioned Debtor's equity interests:

                Equity Holder                                       % Ownership
            VW Interholdings, Inc.                                     100%
                              Case 17-11933-KJC                        Doc 1              Filed 09/11/17               Page 19 of 21




 Debtor Nemo
                 Vitamin World, Inc.
 United States Bankruptcy Court for the:                               District of        DE
                                                                                     (State)

 Cane minter ur tmem*




Official Form 202
Declaration Under                          V' tt?   na 1 ty of L srjury for C.1oIndividual L :utors                                                12/15

An individual who is authorized to act on behalf of a non-Individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not Included In the document,
and any amendments of those documents. This form must state the Individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING — Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



              Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct;


         Li Schedule NB: Assets—Real and Personal Property (Official Form 206A/B)

         Li    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 2060)

         Li    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E1F)

         D     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         D     Schedule H: Codebtors (Official Form 20611)

         U     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

         •     Amended Schedule

                                                                                                                              (Official Form 204)
         •     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders

               Other document that requires a declaration
                                                                 1007(a)(1) Corporate Ownership Statement



         I declare under penalty of perjury that the foregoing is true                rect.


        Executed on       9/11/2017
                         Mm DD/ YYYY                              Si           of individual signing on behalf of de




                                                                       Frank Conley
                                                                  Printed name

                                                                   Chief Financial Officer
                                                                  Position or relationship to debtor




Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
                Case 17-11933-KJC        Doc 1      Filed 09/11/17    Page 20 of 21



                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF DELAWARE



In re                                                  Chapter 11

VITAMIN WORLD, INC.,                           •       Case No. 17-              )

                 Debtors.                      ••      Joint Administration Requested



                            LIST OF EQUITY SECURITY HOLDERS
          Pursuant to Federal Rule of Bankruptcy Procedure 1007(a)(3), the following is the list of

holders of any class of the above-captioned Debtor's equity interests.

           Equity Holder                 Address of Equity                  % Ownership
                                              Holder
        VW Interholdings, Inc.         4320 Veterans Highway                     100%
                                        Holbrook, NY 11741
                                Case 17-11933-KJC                      Doc 1               Filed 09/11/17             Page 21 of 21




   Debtor Name
                       Vitamin World, Inc.

   United States Bankruptcy Court for the:                                District of       DE
                                                                                        (Stabo
   Case number (If known):




 Official Form 202
             laration Under naty of Lrjury tczdr                                                      .c.:J-individual         DelAcurs                12115

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that Is not included In the document,
and any amendments of those documents. This form must state the Individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud Is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud In
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C, §§ 152, 1341,
1519, and 3571.



                   Declaration and signature



             I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
             another individual serving as a representative of the debtor in this case.

             I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             LI Schedule A/B: Assets-Real and Personal Property (Official Form 206A16)

             O      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Li     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             D      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Li     Schedule I-1: Codebtors (Official Form 206H)

             LI     Summary of Assets and Liabilities for Non-Individuals (Official Form 2065um)

             U      Amended Schedule


             LI     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         S   '41    Other document that requires a declaration      1007(a)(3) List of              Equity Security       Holders




             I declare under penalty of perjury that the foregoing is true ,ppco rract.


         Executed on 9/11/2017
                             MM DD I YYYY                            Slgrture of individual signing on behalf of debtor




                                                                       Frank Conley
                                                                     Printed name

                                                                      Chief Financial Officer
                                                                     Position or relationship to debtor



Official Form 202                              Declaration Under Penalty of Perjury for Non-Individual Debtors
